                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr390


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
KEVIN EUGENE MOBLEY (3)                  )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 335).

       The defendant was sentenced to 120 months’ imprisonment pursuant to the mandatory

minimum sentence prescribed in 21 U.S.C. § 841(b)(1)(A), based on his plea to conspiracy to

possess with intent to distribute 50 grams or more of a mixture and substance containing a

detectable amount of cocaine base. (Doc. No. 56: Indictment; Doc. No. 149: Plea Agreement;

Doc. No. 199: Judgment; Doc. No. 200: Statement of Reasons). Accordingly, the change in the

guidelines does not affect on the defendant’s sentence. Neal v. United States, 516 U.S. 284, 296

(1996) (retroactive amendment to guidelines does not alter statutory mandatory minimum).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: March 20, 2008




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